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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF OKLAHOMA

 Kevin Hoog, on behalf of himself and all
 others similarly situated,

                               Plaintiff,

 v.                                                    Case No. 16-CV-463-KEW

 PetroQuest Energy, L.L.C., et al.,

                               Defendants.


                         INITIAL PLAN OF ALLOCATION ORDER


        This Initial Plan of Allocation Order sets forth the manner in which the Net Settlement

Fund and PetroQuest Settlement Funds will be administered and distributed to Class Members.

The Net Settlement Fund and PetroQuest Settlement Funds will be allocated to each Class Member

based on the factors and considerations set forth in the Initial Plan of Allocation (Doc. 307-6) and

the Settlement Agreement (Doc. 300-1).

                             INITIAL PLAN OF ALLOCATION

        The Net Settlement Fund and PetroQuest Settlement Funds will be allocated among

individual Class Members based upon the factors set forth in the Declaration of Barbara Ley (Doc.

307-6), which are consistent with the factors set forth in the Settlement Agreement (Doc. 300-1)

and approved by the Court. Pursuant to the Settlement Agreement, the Plan of Allocation reduces

the amount available for distribution for estimates of Plaintiff’s Attorneys’ Fees, Litigation

Expenses, and Administration, Notice, and Distribution Costs, and a Case Contribution Award,

which amounts were ultimately determined by the Court at the Final Fairness Hearing and which

will be implemented in the Final Plan of Allocation.
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       The Court reserves the right to modify this Initial Plan of Allocation Order without further

notice to any Class Members who have not entered an appearance. The allocation of the Net

Settlement Fund and PetroQuest Settlement Funds among Class Members and the Allocation

Methodology is a matter separate and apart from the proposed Settlement between Plaintiff and

Defendants, and any decision by the Court concerning allocation and distribution of the Net

Settlement Fund and PetroQuest Settlement Funds among Class Members shall not affect the

validity or finality of the Settlement or operate to terminate or cancel the Settlement.

                      TIME FOR ALLOCATION AND DISTRIBUTION

      The allocation and distribution of the Net Settlement Fund and PetroQuest Settlement Funds

shall be under the direct supervision of the Court and shall be consistent with the Final Plan of

Allocation submitted by Class Counsel and approved by the Court. Furthermore, the timing,

manner, and process for any distributions shall be consistent with the timing and process provided

for in the Settlement Agreement (Doc. 300-1), which is incorporated herein by reference.

       IT IS SO ORDERED this 17th day of April, 2023.




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                                               KIMBERLY E. WEST
                                               UNITED STATES MAGISTRATE JUDGE




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